       Case 1:05-cr-01849-JCH          Document 78-1         Filed 09/01/05    Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
       vs.                                    )               Cr. No. 05-1849 JH
                                              )
DANA JARVIS, et al.,                          )
                                              )
               Defendants.                    )


                                             ORDER

       THIS MATTER having come before the Court upon the United States’ motion seeking a

status conference for the purposes of designating this a complex case pursuant to 18 U.S.C.

§ 3161(h)(8)(B)(ii), and the Court having reviewed said motion and otherwise being fully

advised, FINDS that the motion is well-taken and should be granted.

       NOW, THEREFORE, IT IS HEREBY ORDERED that the standing discovery orders

previously entered in this case are withdrawn, and said order shall not be entered as to any other

defendant in this case who is arraigned in the future.

       IT IS FURTHER ORDERED that the motions deadline previously imposed in this case is

hereby vacated.

       IT IS FURTHER ORDERED that a status conference shall be conducted in this case on

                               , 2005, at                .




                                                         UNITED STATES DISTRICT JUDGE
